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                                          UNITED STATES DISTRICT COURT
                                      FOR THE EASTERN DISTRICT OF MICHIGAN
                                               SOUTHERN DIVISION

 UNITED STATES OF AMERICA,
                                                              Case No. 11-20129-7
                        Plaintiff,                                     11-20066-5

 v.                                                           Judge Robert H. Cleland



 CARY VAN DIVER

            Defendant .
 ___________________________________/
                                 AMENDED
             ORDER SETTING SENTENCING AND DEADLINE DATES
                   AND IMPOSING OTHER RESPONSIBILITIES

            The Defendant having been convicted and referred to the Probation Department for

 the preparation of a Presentence Report (PSR), IT IS ORDERED as follows:

 1)         Sentence will be imposed on May 17, 2016 at 2:00 p.m.. If a custodial sentence is

            imposed, the defendant must be prepared to submit to custody on the day of

            sentencing.

 2)         The PSR was disclosed to counsel on February 7, 2016.

 3)         On or before 30 Days after the receipt of the PSR, any objection must be stated to

            the Probation Officer and a copy sent of the objection to the other party (but it

            cannot be filed on the docket). In stating an objection, counsel must use a format

            substantially similar to the attached Addendum. A purported PSR objection

            originating in a letter, an e-mail, a “sentencing memorandum,” etc., will be rejected

            by the Probation Officer and returned to the party who provided it.

 4)         After the parties have submitted and received opposing counsel’s objections, they

            will have 14 days to submit their responses to those objections to the probation


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            department.

 5)         On or before, (14 days) the proposed final form of the PSR must be delivered to

            the court by the Probation Department. The addendum will be formatted as follows:

            a) list the objection first;

            b) list the government/defense response to the objection; and

            c) list the probation department's position regarding the objection

 6)         Not later than, April 20, 2016 any request by either party for a departure or
            variance from the Guidelines range must be presented in the form of a motion
            with a supporting brief.

 7)         Not later than SEVEN DAYS before sentencing, any opposition to the other party’s
            motion for departure or variance motion must be filed.

 8)         A Sentencing Memorandum is optional,1 but due SEVEN DAYS before
            sentencing.

 9)         Counsel must provide a copy of any motion, opposition to a motion, and
            memorandum to the Probation Officer.

 10)        Allocution at sentencing will ordinarily not exceed ten minutes for Defendant’s
            counsel, ten minutes for Defendant and ten minutes for government counsel.

                                                s/Robert H. Cleland
                                                Robert H. Cleland
                                                United States District Judge

 Dated: February 12, 2016

 I hereby certify that a copy of the foregoing document was served upon counsel of record
 on February 12, 2016, by electronic and/or ordinary mail.

                                                s/Lisa Wagner
                                                Case Manager



            1
        A sentencing memorandum is often superfluous in light of a motion for variance,
 and more important in the absence of such a motion. Memoranda are ordinarily
 reviewed by the court in the few days leading to sentencing. Do not use a sentencing
 memorandum as a substitute for a motion for a USSG departure or 18 USC
 §3553(a)(2) variance in sentence.

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                                                      SAMPLE
                                            PRESENTENCE REPORT ADDENDUM

 Defendant’s name:                                           Page #:
 Docket #:                                                   Paragraph #:
 Date:                                                       Line(s) #:
 Objection #:

 Section I: Defendant’s/Government’s objection:




 _____________________________                                _________________________________
 Attorney’s signature                                         I affirm the truth of every factual statement above.
                                                              Defendant’s signature

 Section II: Probation officer’s comments:




                                                Instructions for counsel
                            (Do not replicate instructions on the Addendum to be submitted)

 1)         Provide all objections directly to the Probation Officer, and do not file them on the docket.

 2)         Any objection or claim that a guideline or application note has been incorrectly applied or
            omitted must be accompanied by a clear explanation. Saying only that “the defendant
            disputes” a fact without providing an alternate explanation or reference to specific evidence
            is generally unavailing.

 3)         Do not use the Addendum format or the formal “objection” process to merely
            •      point out a minor factual error, i.e., those that have no effect on guideline
                   calculations nor forms the basis for a departure. Such claims may be presented to
                   the Probation Officer by letter or memorandum.
            •      argue a mechanical result or an alternate guideline calculation that depends on the
                   resolution of a challenged factual item.
            •      react to required PSR comments such as factors for possible departure. Such
                   matters may be presented to the court in the form of a sentencing memorandum.

 4)         When a party has presented a material objection that has not been accepted by the
            Probation Officer and remains for resolution by the court, any opposition must expressed in
            writing whether or not the court specifically orders a response. Always provide a copy to the
            Probation Officer. Responses should correspond to the numbering of the objection(s) and
            clearly explain the party’s position in reaction to the objection.



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